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        United States Court of Appeals
             for the Fifth Circuit                                 United States Court of Appeals
                                                                            Fifth Circuit


                            ____________                                  FILED
                                                                  December 26, 2024
                             No. 24-40792                            Lyle W. Cayce
                            ____________                                  Clerk

Texas Top Cop Shop, Incorporated; Russell Straayer;
Mustardseed Livestock, L.L.C.; Libertarian Party of
Mississippi; National Federation of Independent
Business, Incorporated; Data Comm for Business,
Incorporated,

                                                       Plaintiffs—Appellees,

                                  versus

Merrick Garland, U.S. Attorney General; Treasury
Department; Director FinCEN Andrea Gacki, Director
of the Financial Crimes Enforcement Network;
Financial Crimes Enforcement Network; Janet Yellen,
Secretary, U.S. Department of Treasury,

                                      Defendants—Appellants.
              ______________________________

              Appeal from the United States District Court
                   for the Eastern District of Texas
                        USDC No. 4:24-CV-478
              ______________________________

ORDER:
      On December 3, 2024, the district court entered an order enjoining
enforcement of the Corporate Transparency Act and its corresponding
Reporting Rule. Texas Top Cop Shop, Inc. v. Garland, No. 4:24-CV-478, 2024
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                                No. 24-40792


WL 5049220 (E.D. Tex. Dec. 5, 2024). The Government requested a stay of
the preliminary injunction, which the district court denied. Texas Top Cop
Shop, Inc. v. Garland, No. 4:24-CV-478, 2024 WL 5145951 (E.D. Tex. Dec.
17, 2024).
      The Government appealed, and on December 23, 2024, a motions
panel of this court granted the government’s emergency motion for a stay
pending appeal. Texas Top Cop Shop, Inc. v. Garland, No. 24-40792, 2024 WL
5203138 (5th Cir. Dec. 23, 2024) The order also expedited the appeal to the
next available oral argument panel.
      The merits panel now has the appeal, which remains expedited, and a
briefing schedule will issue forthwith. However, in order to preserve the
constitutional status quo while the merits panel considers the parties’
weighty substantive arguments, that part of the motions-panel order granting
the Government’s motion to stay the district court’s preliminary injunction
enjoining enforcement of the CTA and the Reporting Rule is VACATED.




                             LYLE W. CAYCE, CLERK
                             United States Court of Appeals
                                  for the Fifth Circuit
                                  /s/ Lyle W. Cayce

             ENTERED AT THE DIRECTION OF THE COURT




                                         2
